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Of Attorneys for Creditor PSB Credit Services, Inc.




                        UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON


 In re:                                       Case No. 22-30011-dwh12

 MARKE. DELONG,                               PSB CREDIT SERVICES, INC'S
                                              MOTION TO DISMISS AND
                                              MEMORANDUM
                            Debtor.




          Secured creditor PSB Credit Services, Inc., by and through its attorneys Arnold

Gallagher P.C. and Lathrop GPM LLP, hereby moves the Court for entry of an order dismissing

the above-captioned proceeding pursuant to 11 U.S.C. § 1208(c), and in support thereof states

as follows:




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                            I.      STATEMENT OF FACTS

       1.     Mark E. Delong ("Debtor") is indebted to PSB Credit Services, Inc. ("Lender")

under the following promissory notes:

              a.      Promissory Note, dated December 30, 2013, in the             amount of
                      $3,27 5,016.00 ("Note 1 ");
              b.      Promissory Note, dated December 30, 2013, in the             amount of
                      $1,863,325.00 ("Note 2"); and
              c.      Promissory Note, dated December 30, 2013, in the             amount of
                      $3,812,000.00 ("Note 3" and collectively with Note 1 and     Note 2, the
                      "Notgs"),

all originally issued to Bank of Eastern Oregon, and subsequently assigned to the Lender on

or about December 12,2018.

       2.     The debt evidenced by the Notes is secured by certain real property located in

Malheur County, Oregon (the "Real Property Collateral"), as evidenced and perfected by the

following recorded deeds of trust (the "Deeds of Trust"):

       a.     Deed of Trust, dated December 30, 2013, granted by the Debtor to Bank of
              Eastern Oregon, as recorded on December 31, 2013, with the County Clerk of
              Malheur County, Oregon, Document 2013-5383, as modified and subsequently
              assigned to the Lender;

       b.      Deed of Trust, dated December 30, 2013, granted by the Debtor to Bank of
               Eastern Oregon, as recorded on December 31, 2013, with the County Clerk of
               Malheur County, Oregon, Document 2013-5384, as modified and subsequently
               assigned to the Lender; and

       c.      Line of Credit Instrument, dated December 30,2013, granted by the Debtor to
               Bank of Eastern Oregon, as recorded on December 31, 2013, with the County
               Clerk of Malheur County, Oregon, Document 2013-5385, as modified and
               subsequently assigned to the Lender.

The Real Property Collateral includes the irrigation equipment affixed to the real property'

       3.      The Notes, Deeds of Trust and any other document that relates to the Notes is

hereinafter referred to as the "Loan Docu4nents"




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        4.     The Debtor raises livestock primarily for Producer's Livestock Marketing

Association   ("PLMA"). The livestock are owned by PLMA, fed by the Debtor until the

livestock reach a ceftain weight, and shipped by PLMA to a feedlot selected by PLMA and

then slaughtered and processed at a packing plant selected by PLMA. The Debtor is paid for

his services by PLMA based on a contractual formula     -   which may either result in income or

a loss; depending on various factors controlled by   PLMA.l

         5.     On November 18, 2017, the Debtor filed a Chapter 11 bankruptcy petition in

the District of Oregon; Case No. 17-34395 (the "2017 Bankruptcy"). The Debtor was

represented by the same counsel that represents the Debtor in the above captioned case.

         6.     On October 19, 2018, an Order Approving Disclosure Statement and

Confirming Debtor's First Amended Plan of Reorganization was entered by the Courl in the

2017 Banl<ruptcy [Doc. 177) (the "2018 Plan"). In supporl of the 2018 Plan, on August 27,

2018, the Debtor filed Debtor's Fourth Amended Disclosure Statement (Dated August 24,

2018) [Doc. 144], which included supporting financials on August 27,2018. The financials

consisted of a liquidation analysis (Disclosure Statement: Exhibit B) and five (5) years      of

projected cashflow (Disclosure Statement: Exhibit      C).    On its face the Debtor's projected

cashflow supported $400,000 being paid to the predecessor of the Lender in2019, $500,000

being paid in 2020,$650,000 being paid in 2021 and $700,000 being paid in 2022. The 2018




livestock.



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Plan was confirmed based upon the Debtor's projections. Of the $2,250,000 to be paid to the

Lender under the 2018 Plan; the Debtor paid $260'000.

       7.     On January 5,2022, and on the eve of a foreclosure sale commenced by the

Lender, the Debtor filed the above captioned chapter 12 bankruptcy.

       8.     As of January 5,2022, $5,394,193.53, plus additional fees and expenses, were

due and owing on the Notes; which is the aggregate of the following:

              Principal Balance                               $4,662,920.50
              Accrued Interest through 8l3Il2I:                 $610,690.00
              Accrued Interest 8lll2I to ll5l22:                $105,298.33
              Attorney Fees                                       $6,696.00
               Costs and Expenses                                    s88.70
               TOTAL                                          $5,394,193.53

       9.      The Debtor continues to raise livestock primarily for    PLMA. The Debtor's

Motion for Authority to Obtain Credit, filed on March 18,2022 [Doc. 3 1] referenced four (4)

recent "tums" or livestock arrangements between the Debtor and PLMA in which PLMA

placed livestock with the Debtor for feeding and upon reaching a ceftain weight, PLMA

shipped the livestock to a feedlot selected by   PLMA.   Based on the Amended Schedules filed


by the Debtor on February 11, 2022 1Doc.221,5225,231.00 is still owedto PLMA for            a


previous unprofitable "turn" for which the loss was realized by the Debtor on or around

November 8,2018, and an unknown amount is still owed by the Debtor for feed and other

costs incuned by the Debtor for livestock owed by      PLMA and placed with Simplot Livestock

Company arising under the 2021Contract as referenced in Paragraph 8 Debtor's Motion for

Authority to obtain Credit. paragraph 7 of the Motion cited above references the 2020

Contract, the202l Contract, and two subsequent contracts. The compensation paid by PLMA

to the Debtor for each turn is outlined in paragraph 9 of the 2021 Conttact.




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         10.      On May 2,2022, the Debtor filed his proposed Chapter 12 plan (the "Proposed

Plan"). The Proposed Plan proposes to retain the Real Property Collateral and pay the Lender

the principal amount of $3,260,000, with interest accruing thereon at the rate of 3.25o/o over

twenty (20) years. The Lender filed a Response and Objection of PSB Credit Services, Inc. to

Chapter 12PlanDated Apri|29,2022, on June 8,2022 [Doc. 65]. An appraisal effectively

dated   April 5, 2}zz,prepared   at the request of the Lender opines that the appraised value   of

the Real Properly Collateral is $5,125,000. The Lender is under-secured.

         1   1.   An amended proposed Chapter 12 plan was to be prepared and f,rled by the

Debtor and set for hearing on August 1I,2022. No amended plan has been filed.

                                 II.     LEGALARGUMENT

         The above-asserted facts outline and establish cause to dismiss Debtor's Chapter 12

bankruptcy. Section 120S(c) of the Bankruptcy Code enumerates several bases upon which a

debtor's Chapter 12 bankruptcy can be dismissed:

         (c) On request of a party in interest, and after notice and ahearing, the courl
         may dismiss a case under this chapter for cause, including-

                  (1) unreasonable delay, or gross mismanagement, by the debtor that
                  is prejudicial to creditors;

                  (9) continuing loss to or diminution of the estate and absence of a
                  reasonable likelihood of rehabilitation[.]



11 U.S.C. $ 1208(c).

         A.       Unreasonable Delav. Section 1221 provides a chapter 12 plan shall be filed no

later than 90 days after the order for relief, and under Section 1224 the court shall hold a plan

confirmation hearing no later than 45 days after the filing of the Chapter 12 plan. The above

captioned case was filed on January 5,2022; or almost seven (7) months ago. As of the date




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of filing this Motion, two objections, one from the Trustee and one from Lender, have been

madetotheProposedPlan. TheTrustee'sobjection[Doc.61],focusedonthefailureofDebtor

to provide information needed to assess the feasibility of the Proposed Plan, including tax

returns, a liquidation analysis, financial forecasting, and other unspecified information. Lender

made similar objections regarding a lack of information to determine feasibility, as well as

additional grounds. Lender herein incorporates by reference all arguments made in its objection

to the Proposed Plan. The Lender agreed to the continuance of the confirmation hearing to

August I1,2022,to allow the Debtor to address the filed plan objections and file an amended

Chapter 12 plan. No amended plan has been filed. Debtor's failure or delay in addressing

objections   to the Proposed Plan, or proposing an amended plan to resolve            objections,

constitutes cause for dismissal. See Inre Malek,59I B.R. 420,431 (Bankr. N.D. Cal. 2018)

(length of time to plan confirmation combined with a failure of Debtor to address plan

objections is unreasonable delay). See also   Inre Buckingham,lgT B.R. 97,105 (Bankr. D.

Mont. 1996) ("Chapter 13 statutory construction and practice'provide a valuable tool for

interpretation of Chapter 12."').

        B                                            of           and


Likelihood of Rehabilitation. As of January 5,2022,$5,394,193.53 plus additional fees and

expenses due and owing on the Notes. The appraised value of the Real Property Collateral is

only $5,125,000. The Lender is under-secured. The Lender is prejudiced by the delay and the

delay is causing a diminution of the bankruptcy estate as any equity of the Debtor is being

exhausted by fees, costs and unpaid property taxes; equity that should otherwise be paid to

unsecured creditors like the Lender. The estate continues to diminish with the passage of time

as adequate repayment is not made to creditors.




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         Fufthermore, there is no reasonable likelihood of rehabilitation. A feasibility analysis

applies to the "cause" provided for in Section 1208(c)(9). See In re Sine, No. K08-00152'

DMD, 2009 WL 8413041, at*2 (Banl<r. D. Alaska Apr.21,2009) (finding both unreasonable

delay and failure to propose feasible plan as sufhcient "cause" for dismissal of Chaptet 12

case);   Inre Euerle   Farms,    Inc.,86I F.2d 1089 (8th Cir.198S) (dismissing Chapter 12 case

under $ 1208(cX1) because the debtor was unable to propose a feasible plan where income and

expense projections supplied by the debtor clearly showed that reorganizalionwas completely

unrealistic and the inability to propose a feasible plan creates uffeasonable delay); In re

Pertuset,492 B.R. 232        (Bank S.D. Ohio 2012) (dismissing        Chaptet 12 case under     $


1208(cX9) because the Debtors did not have a viable farming operation sufficient to pay

expenses and fund a plan and that the value of the estate continues to diminish with the passage

of time and the lack of payments to creditors); In re Butler, 101 B.R. 566,568-69 (Bankr. E'D.

Ark. 1989) (dismissing Chapter 12 case under $ 1208(c)(9) because the debtor had no realistic

chance of reorganizatronand creditors had received no payments for the year that the debtor

operated his business under the shield of the bankruptcy court); Novakv. DeRosa (In re Novak),

g34F.2d401 (zdCir. 1991) (dismissing Chapter 12 case under $ 1208(c)(1) because the debtor

failed to file feasible plan).

          The Proposed Plan does not meet the feasibility requirement of 11 U'S.C. $ 1225(aX6)

and as such there is no reasonable likelihood of rehabilitation. Debtor bears the burden of

proving he has satisfied the feasibility requirement, and while Debtor is not required to

guarantee success, "courts cannot confirm plans that are purely 'visionary[     .]"' In re Wilson,

378 B.R. 862, 891 (Bankr. D. Mont. 2007).In determining feasibility "the details of the




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                                                                          the Debtor's current
[Debtor's] historic performance and the distinguishing characteristics of

operation plan are relevant." In re Nauman,2I3 B.R. 355, 358 (9th Cir. B.A'P.                l99l)'

        Here, Debtor has done little to meet his burden of proving feasibility because Debtor

has provided no details on projected financials or analysis of his current operation compared

to his historic operation. For reasons elaborated on further in Lender's plan objection [Doc.

65], the information that is available to creditors demonstrates that the Proposed Plan is not

feasible, and that Debtor is unable to propose and confirm a feasible plan. Historically, as

demonstrated in his previous bankruptcy, Debtor was only able to pay Lender $260,000 of the

required $2,250,000. In Debtor's pending bankruptcy, any proposed plan require substantially

greater annual payments than the amount the Debtor was unable to pay under the terms of his

confirmed Chapter 11 plan in the 2017 Bankruptcy. See In re Nauman, 213 B.R. at 358 ("past

behavior and productivity are excellent indicators            of future productivity") quoting In re

Crowley, 85 B.R. 76, 79 (W.D' Wis. 1988)'

         C.     Lack of Good Faith. Lack of good faith in filing a Chapter 12 petition also

constitutes cause for dismiss al. See In re Buckingham,         1   97 B.R. at 1 05 ; In re Beswicft, 98 B.R.


900, 901 (Bankr. N.D.     Ill. 19S9). "Bankruptcy         Courts are increasingly confronting the good

faith issue in repeat-filing cases. . . . [S]everal courts consider repeat frlings to be an abuse of

both the Bankruptcy Code and the creditors' rights under state law. . . . [They] also violate the

purpose and spirit of Chapter        i2[,] fwhich]   suggests Congress intended Chapter 12 cases to

move along expeditiously so as to protect creditors' interests and to preclude diminution in the

value of collateral   if a reorg   anization cannot be achieve      d.- Id. at 902-04. See In re Walton,

116   B.R. 536,540 (Bankr. N.D. Ohio 1990) ("[F]iling in order to halt a foreclosure, frustrating

legitimate efforts of a creditor to enforce its rights under state law, is further indicia of bad




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faith"); In re Borg,105 B.R. 56, 58 (Bankr. D. Mont. 1989) (finding where "Debtor's repeated

petition filings closely mirror and   are   influenced by creditors' actions in foreclosure suits" that

Debtor's bankruptcy was "filed to deter and harass the fsecured creditor] from its bona fide

efforts to realize on its security."). See also In re Turner, 71 B.R. I20,123 (Bankr. D. Mont.

I9S7) (finding Chapter 11 caselaw using identical provisions persuasive).

        Good faith is implicated where "Debtor's repeated petition filings closely mirror and

are influenced by creditors' actions in foreclosure suits." In re    Borg, 105 B.R. at 58 (dismissing

Chapter 12 case where debtor's repeat filings and final filing on the date of foreclosure

hearing). Here, Debtor has been in the process of bankruptcy since 2017, wherein he paid

Lender little more than a tenth of the payments proposed under the plan confirmed as to the

2017 Bant<ruptcy. Debtor filed his current Chapter 12 bankruptcy on the eve of Lender's

foreclosure. The timing of Debtor's filing is "more than just a coincidence" and is evidence         of

lack of good faith, and when combined with Debtor's failures address the objections to the

Proposed Plan, and lack of feasibility (addressed below), is sufficient cause to dismiss..

        The totality of the circumstances constitute cause to dismiss under 11 U.S.C. $ 1208(c).

Although 11 U.S.C. g 1208(c) sets forth nine specific grounds for dismissing a Chapter               12


case, dismissal is not limited to those nine grounds, however, and a court may find other

examples of conduct that would allow dismissal. See In re Euerle Farms, Inc,, 861F.2d 1089

(8th Cir.1988). To the extent any of the aforementioned facts are not sufficient in and of

themselves to justify dismissal, or to the extent they do not directly fall within one of the

expressly listed causes for dismissal under 11 U.S.C. $ 1208(c), when considered as a whole,

they indicate dismissing the above captioned case is the proper course of action. For the above

reasons, cause exists to dismiss under 11 U.S.C. $ 1208(c).




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                                      III.   CONCLUSION

       For the reasons identified above, Lender respectfully requests an order dismissing this

case pursuant   to   11 U.S.C. $$ 1208(c).

       Dated this 29th day of July 2022.




                                              /s/ Bradlev S.
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                                              and

                                              /s/ ,Ieffrev A. Peterson
                                              Jeffrey A. Peterson, Minn. Bar No' 387556
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                                              (320) 2s2-44r4

                                               Attorneys for PSB Credit Services, Inc.




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                                      VERIFICATION

l, Kevin Mulder,   an authorized representative of PSB Credit Services declare under penalty
of perjury that the foregoing is true and correct according to the best of my knowledge,
information and belief.

Dated: July   7tl ,2022
                                                    rZ'-4-
                                                Kevin Mulder
                                                Vice President




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                                   CERTIFICATE OF SERVICE
     I certiff that on July 29, 2022,I served or caused to be served a true and complete copy
Of PSB CREDIT SERVICES,INC'S MOTION TO DISMISS AND MEMORANDUM tO
the parties listed below as follows:



Via CM/ECF electronic transmission:

JESSE   A BAKER on behalf of Creditor JPMorgan           Chase Bank,   N.A'
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Via first class, reqular mail:

See Attached     Mailing Matrix.


                                        ARNOLD GALLAGHER P.C.

                                            /s/ Bradlev S C,one.l.and
                                            Bradley S. Copeland, OSB No. 871964
                                            Of Attorneys for Creditor PSB Credit Services, Inc.




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Farmers Supply Co-Op
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514 SIi 4lh Ave,
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                                                      Philadelphia, PA 19101-7346



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                                                      Vale, 0R 97918-1375                                         VaIe, 0R      97918-1375
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Carol Stream,         It    6019?-5381




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ODR Bkcy
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 955 Center NE, #353
                                                       Salem 0R 97301-2555                                        Prinsburg,       MN 55281-3?00
 Salem, 0R 97301-2555




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 2090 7th Ave
                                                       Prinsburg, lol      56281-0038                             North Sall lake, UI 8{054-0477
 Vale, 0R 97918-5028




                                                       SheiIa                                                     Simplot Livestock          ComPanY
 Producers Livestock MarkeLing Association                      Schwager
                                                       Hawley   Troxell Ennis        E HawleY   l[P               130i   Hwy 67
 c/o Sheila R,        Schwager
                                                       P0 Box 151?                                                Grand View,       ID 8362{-5052
 Hawley      TroxeII Ennis & HawleY LIP
 P0 Box 161?                                           Boise, ID 83701-1617
 Boise, ID 83701-1517

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 2401 4th Ave.        #450
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 lilark E, Delong                                      NICHOI,AS     J   HENDERSON                                 TROY SEXTON

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Sealtle, I{A 98116-0600




                      The   preferred mailing address (p) above has been substiluted for the foltowing entily/entities as so specified
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Chase                                                        (d),IPMorgan Chase Bank' N,A,
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                                                             Phoenix, AU 85038-9505




                     The   following recipienls   rnay be/have been bypassed   for notice   due   lo   an undeliverable   (u) or duplicale (d) address'



                                                             (u)PBS   Credit Services lnc                                    (u)Producers livestock Marketing Association
(u)'IPMorgan Chase Bank, N.A.




End   of label   Matrix
Mailable   recipients        30

Bypassed   recipients         3

Total                        33




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